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                             UNITED STATES DISTRICT COURT FOR THE
 7                             WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9
     PARLER LLC,                         )
10                                       )
                 Plaintiff,              )                 CASE NO.       2:21-cv-0031-BJR
11                                       )
                 v.                      )                 ORDER RE: MOTION FOR
12                                       )                 TEMPORARY RESTRAINING ORDER
     AMAZON WEB SERVICES, INC.,          )
13                                       )
                 Defendant.              )
14                                       )
     ____________________________________)
15
             This matter comes before the Court on an ex parte Motion for Temporary Restraining
16

17   Order (“TRO”) filed by Plaintiff Parler LLC (“Parler”). Dkt. No. 2. Parler filed its motion

18   contemporaneously with its Complaint; neither has been served on Defendant Amazon Web

19   Services, Inc. (AWS), nor has AWS yet made an appearance. In brief, Parler alleges that “AWS
20   is threatening to suspend all services to Parler” effective Sunday, January 10th, at 11:59 PM
21
     PST, and seeks a TRO enjoining AWS from doing so. Mot. at 2. The motion was filed the
22
     following day, January 11, 2021 (today), and thus, presumably, those services were in fact
23
     suspended last night.
24

25           Parler has filed its motion pursuant to Fed. R. Civ. P. 65(b), which provides in relevant

     part:

                                                      1
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 1          (1) Issuing Without Notice. The court may issue a temporary restraining order
            without written or oral notice to the adverse party or its attorney only if:
 2

 3          (A) specific facts in an affidavit or a verified complaint clearly show that
            immediate and irreparable injury, loss, or damage will result to the movant before
 4          the adverse party can be heard in opposition; and
 5          (B) the movant’s attorney certifies in writing any efforts made to give notice and
 6          the reasons why it should not be required.

 7          As noted above, Defendant AWS has apparently not been served either with the

 8   Complaint or the instant motion. Furthermore, Parler’s attorney has not “certifie[d] in writing
 9   any efforts made to give notice and the reasons why it should not be required.” The Western
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     District of Washington Local Rules are exceedingly clear: “Motions for temporary restraining
11
     orders without notice to and an opportunity to be heard by the adverse party are disfavored and
12
     will rarely be granted.” LCR 65(b)(1). In the absence of the certification outlined in Fed. R. Civ.
13

14   P. 65(b)(1)(B), Parler has the obligation to “serve all motion papers on the opposing party before

15   or contemporaneously with the filing of the motion and include a certificate of service with the

16   motion.” Id.
17
            Therefore, the Court hereby orders Parler to “serve all motion papers,” including the
18
     Complaint, on AWS by no later than 5:00 p.m. PST today, January 11, 2021. AWS shall
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     respond to the Motion for TRO no later than 5:00 p.m. PST, January 12, 2021. Parler may file
20
     any reply no later than 12:00 noon PST, January 13, 2021. The parties shall follow all rules for
21

22   briefing, including page limits, set out in the Local Rules.

23          Dated this 11th day of January, 2021.

24

25                                                         A
                                                           Barbara Jacobs Rothstein
                                                           U.S. District Court Judge

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